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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                                Orlando DIVISION

In re:                                                          Case No: 6:18-bk-07666-KSJ
                                                                Chapter 7
ROWENA M GRAY-LESLIE

         Debtor(s).
                                        /


                                 NOTICE OF HEARING

         NOTICE IS HEREBY GIVEN THAT: A preliminary hearing will be held on

May 21, 2019 at 11:00 a.m. in Courtroom #6A on the 6th floor, 400 W Washington St,

Orlando FL 32801, before the Honorable Karen S. Jennemann, United States Bankruptcy

Judge, to consider and act upon the following:

Motion to Sell Property description: 3702 Gwynn Oak Avenue, Baltimore, MD 21207.
[DE#29]

         1. The hearing may be continued upon announcement made in open Court without

further notice.

         2. Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires

that all persons appearing in Court should dress in business attire consistent with their

financial abilities. Shorts, sandals, shirts without collars, including tee shirts and tank

tops, are not acceptable.

         3. Avoid delays at Courthouse security checkpoints. You are reminded that Local

Rule 5073−1 restricts the entry of cellular telephones and, except in Orlando,

computers into the Courthouse absent a specific order of authorization issued beforehand

by the presiding judge. Due to heightened security procedures, persons must present

photo identification to enter the Courthouse.
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        I HEREBY CERTIFY that on this 14th day of March 2019, at true and correct

copy of the foregoing has been furnished by CM/ECF Electronic Mail or by US Mail to

all parties listed below.

Rowena M. Gray-Leslie, 27409 HAMMOCK VIEW CT, YALAHA, FL 34797;

William J Sanchez, The Independence Law Firm, 1800 Pembrook Drive, Suite 300,
Orlando, FL 32810

SPS c/o Jeffrey Fraser Esq. via ECF


                                                        /s/ Arvind Mahendru
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                                                        Winter Springs Florida 32708
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